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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  INNOVATIVE SPORTS MANAGEMENT, INC.,
  D/B/A INTEGRATED SPORTS MEDIA,
                                                                       JUDGMENT
                           Plaintiff,
                                                                       20-CV-2943 (PKC) (RER)
         v.

 CARLOS MEJIA, INDIVIDUALLY AND D/B/A LIMA
 RESTAURANT; AND LIMA RESTAURANT CORP.,
 D/B/A LIMA RESTAURANT,

                            Defendants.
 ---------------------------------------------------------------X
          An Order of the Honorable Pamela K. Chen, United States District Judge, having been

 filed on August 26, 2021, adopting the Report and Recommendation of Magistrate Judge Ramon

 E. Reyes, dated August 3, 2021, granting in part and denying in part plaintiff's 9 motion for

 default judgment; denying the motion as to Defendant Mejia; entering judgment against

 Defendant Lima Restaurant Corp. for $3,742.50, plus post-judgment interest, and reasonable

 attorney's fees and costs to be determined at a later date; and granting Plaintiff leave to seek fees

 and costs by submitting a properly supported application within thirty (30) days of the date of

 this Order; it is

         ORDERED and ADJUDGED that plaintiff's motion for default judgment is granted in

 part and denied in part; that the motion is denied as to Defendant Mejia; that judgment is hereby

 entered against Defendant Lima Restaurant Corp. for $3,742.50, plus post-judgment interest, and

 reasonable attorney's fees and costs to be determined at a later date; and that Plaintiff is granted

 leave to seek fees and costs by submitting a properly supported application within thirty (30)

 days of the date of this Order.
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 Dated: Brooklyn, New York                       Douglas C. Palmer
        August 27, 2021                          Clerk of Court

                                           By:   /s/Jalitza Poveda
                                                 Deputy Clerk
